_ Case 5:10-cr-00287-DEW-MLH Document 1 Filed 09/22/10 Page 1of5 PagelD#: 1

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SEP 22 2000 xTTED STATES DISTRICT COURT

TONY R. MOORE, CLERK WESTERN DISTRICT OF LOUISIANA
BY ere A SHREVEPORT DIVISION

UNITED STATES OF AMERICA * CRIMINALNO. jQ) -C2. -CODS¢7 ©
:
'
VERSUS * Oo
: JUDGE OR
:
LETITIA C. SCOTT : MAGISTRATE JUDGE HORNSBY
INDICTMENT
THE GRAND JURY CHARGES:
COUNTS 1-29

26 U.S.C. § 7206(2)

On the dates set forth below, in the Western District of Louisiana and elsewhere, the
defendant, LETITIA C. SCOTT, did willfully aid and assist in, and procure, counsel, and advise
the preparation and presentation to the Internal Revenue Service of the United States, of income

tax returns for the taxpayers set forth below for the calendar year 2006, which were false and
fraudulent as to material matters as set forth below, in that they represented that the said
taxpayers were entitled under the provisions of the internal revenue laws to refunds in the
amounts set forth below, when the defendant then and there well knew and believed that said
claims were false and that said taxpayers were not lawfully entitled to the refunds in the amounts

claimed for said calendar year:
Case 5:10-cr-00287-DEW-MLH Document 1 Filed 09/22/10 Page 2 of 5 PagelD#: 2

 

Count Date of | Taxpayer Material False Claim Refund

 

 

Offense Amount

Claimed

1 1/16/07 | B.B. False Form W-2: $5,832.00
The Main Event

2 2/15/07 K.B. False Form W-2: $2,889.00

Drearners Entertainment

 

 

 

3 1/16/07 S.C. False Form W-2: $4,925.00

Federal Enterprises

4 3/14/07 A.C, False Form W-2: $4,586.00
Dreamers |

5 2/3/07 LD. False Form W-2: $3,243.00

Dreamers Entertainment

 

6 2/10/07 R.D. False Form W-2: $4,136.00

Dreamers Entertainment

 

7 1/18/07 Q.G. False Form W-2: $4,748.00

Chatman’s Construction

 

 

 

 

8 2/3/07 E.G. | False Form W-2: $4,636.00
The Main Event
9 1/13/07 T.J.  ° | False Form W-2: $4,821.00
| Federal Enterprises
10 1/27/07 LS False Form W-2: $4,662.00
| Federal Enterprises .
lt 2/1/07 M.J. False Form W-2: $5,280.00

Federal Enterprises

 

 

 

 

 

 

 
Case 5:10-cr-00287-DEW-MLH Document 1 Filed 09/22/10 Page 3 of 5 PagelD#: 3

 

 

 

 

 

 

 

 

 

 

 

 

Count Date of Taxpayer Material False Claim Refund
Offense Amount
Claimed
‘12 1/20/07 B.L, False Form W-2: $4,786.00
Federal Enterprises
13 2/8/07 T.L. False Form W-2: $4,279.00
Federal Enterprises
14 , 1/27/07 C.M. False Form W-2: $4,119.00
The Main Event
15 - 1/16/07 EN. False Form W-2: | $5,093.00
The Main Event
16 2/5/07 M.P. False Form W-2: | $4,534.00
Dreamers
17 2/16/07 ER False Form W-2: $3,358.00
Federal Enterprises
18 - 1/16/07 B.R. False Form W-2: $4,775.00
Chatman’s Construction
19 2/3/07 LR. False Form W-2: $4,213.00
Four Aces Bailbonds.
20 "| 1/19/07 W.R. False Form W-2: $4,250.00
Chatman’s Construction
21 1/30/07 AS. False Form W-2: $4,360.00
Federal Enterprises
22 1/19/07 DS. False Form W-2: $4,220.00
Federal Enterprises

 

 

 

 

 

 

 
Case 5:10-cr-00287-DEW-MLH Document 1 Filed 09/22/10 Page 4 of 5 PagelD #: 4

 

Count Date of Taxpayer Material False Claim Refund

 

Offense Amount
Claimed
23 2/17/07 LS. False Form W-2: $4,629.00

Federal Enterprises

 

24 3/1/07 DS. False Form W-2: $5,208.00

Dreamers Entertainment

 

25 1/16/07 N.W. False Form W-2: $4,728.00

Chatman’s Construction -

 

 

26 1/16/07 L.W. False Form W-2: $4,745.00
The Main Event ‘ .

27 1/19/07 | T.W. False Form W-2; ~~ |: $4,560.00
The Main Event

 

28 1/16/07 T.W. False Form W-2: $4,798.00

Chatman’s Construction

 

29 1/20/07 OLY. False Form W-2: $5,447.00

 

 

 

 

 

 

The Main Event

 

All in violation of Title 26, United States Code, Section 7206(2) [26 U.S.C. § 7206(2)].
Case 5:10-cr-00287-DEW-MLH Document1 Filed 09/22/10 Page 5 of 5 PagelD # 5

A TRUE BILL

STEPHANIE A. FINLEY
UNITED STATES ATTORNEY

qo See [ur

J. SCOTT WILLIAMS (NY # 4162046)
Assistant United States Attorney

300 Fannin Street, Suite 3201
Shreveport, LA 71101

318-676-3600

 
